                      Case 19-32112 Document 1 Filed in TXSB on 04/14/19 Page 1 of 17


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Jones Energy, Inc.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          807 Las Cimas Parkway, Suite 350
                                          Number            Street                                    Number         Street

                                          Suite 100
                                                                                                      P.O. Box
                                          Austin, Texas 78746
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Travis
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.jonesenergy.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                      Case 19-32112 Document 1 Filed in TXSB on 04/14/19 Page 2 of 17
Debtor            Jones Energy, Inc.                                             Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          2111 (Oil and Gas Extraction)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                              4/01/22 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☒ A plan is being filed with this petition.

                                                            ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                 Relationship     Affiliate
                                                 Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                     District    Southern District of Texas
     List all cases. If more than 1,                                                                          When             04/14/2019
     attach a separate list.                     Case number, if known _______________________                                 MM / DD / YYYY



     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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    Debtor           Jones Energy, Inc.                                                Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
        creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                          ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☒     200-999



    15. Estimated assets1                 ☐     $0-$50,000                 ☒     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion



1
       Based on book value as of February 28, 2019. For information regarding valuation of this debtor and its debtor affiliates, see Exhibit F to the
       Disclosure Statement for the Joint Chapter 11 Plan of Jones Energy, Inc. and its Debtor Affiliates, filed contemporaneously herewith.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 19-32112 Document 1 Filed in TXSB on 04/14/19 Page 4 of 17
Debtor           Jones Energy, Inc.                                                   Case number (if known)
          Name




16. Estimated liabilities             ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                      ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on            04/14/2019
                                                               MM/ DD / YYYY


                                               /s/ Carl F. Giesler, Jr.                                           Carl F. Giesler, Jr.
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Chief Executive Officer




18. Signature of attorney                      /s/ Matthew D. Cavenaugh                                       Date        04/14/2019
                                               Signature of attorney for debtor                                           MM/ DD/YYYY



                                               Matthew D. Cavenaugh
                                               Printed name
                                               Jackson Walker L.L.P.
                                               Firm name
                                               1401 McKinney Street, Suite 1900
                                               Number                 Street
                                               Houston                                                                Texas               77010
                                               City                                                                   State                 ZIP Code
                                               (713) 752-4200                                                         mcavenaugh@jw.com
                                               Contact phone                                                             Email address
                                               24062656                                            Texas
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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      Fill in this information to identify the case:


 United States Bankruptcy Court for the:
                            Southern District of Texas
                                          (State)                                                    ☐ Check if this is an
 Case number (if known):                                 Chapter   11                                    amended filing


                                                      Rider 1
                       Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Jones Energy, Inc.

 •   Jones Energy, Inc.
 •   Jones Energy, LLC
 •   CCPR Sub LLC
 •   Jones Energy Finance Corp.
 •   Jones Energy Holdings, LLC
 •   Jones Energy Intermediate, LLC
 •   JRJ Opco, LLC
 •   Nosley Acquisition, LLC
 •   Nosley Assets, LLC
 •   Nosley Midstream, LLC
 •   Nosley SCOOP, LLC
                    Case 19-32112 Document 1 Filed in TXSB on 04/14/19 Page 6 of 17



                                           IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION

                                                                          )
    In re:                                                                )       Chapter 11
                                                                          )
    JONES ENERGY, INC.,                                                   )       Case No. 19-___________(___)
                                                                          )
                                   Debtor.                                )
                                                                          )

      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

             1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
         number is  001-36006

             2. The following financial data is the latest available information and refers to the debtor’s condition on
         February 28, 2019


              (a)   Total assets                                                    $   405,575,000.00 (consolidated) 1
              (b)   Total debts (including debts listed in 2.c., below)             $   1,116,839,000.00 (consolidated)
              (c)   Debt securities held by more than 500 holders                       None
                                                                                                                    Approximate
                                                                                                                    number of
                                                                                                                    holders:
               secured ☐       unsecured ☐        subordinated      ☐         $
               secured ☐       unsecured ☐        subordinated      ☐         $
               secured ☐       unsecured ☐        subordinated      ☐         $
               secured ☐       unsecured ☐        subordinated      ☐         $
               secured ☐       unsecured ☐        subordinated      ☐         $


              (d)   Number of shares of preferred stock                                                             518,655 shares
                                                                                                                    outstanding
                                                                                                                    7,107,520 shares
              (e)   Number of shares of common stock                                                                outstanding


              Comments, if any:




             3. Brief description of debtor’s business: The Debtors are an Austin, Texas-based independent oil and gas
         company engaged in the exploration, development, production, and acquisition of oil and gas properties in the
         Anadarko Basin in Oklahoma and Texas.

              4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
         voting securities of debtor:
              JVL Advisors, L.L.C. (11.63%); Metalmark Capital (9.82%); Jonny Jones and Jones Family (8.70%);
         Citadel Securities - Kenneth Griffin (5.12%)




1      Based on book value as of February 28, 2019. For information regarding valuation of this debtor and its debtor affiliates, see Exhibit F to the
       Disclosure Statement for the Joint Chapter 11 Plan of Jones Energy, Inc. and its Debtor Affiliates, filed contemporaneously herewith.
              Case 19-32112 Document 1 Filed in TXSB on 04/14/19 Page 7 of 17



                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

                                                                   )
    In re:                                                         )     Chapter 11
                                                                   )
    JONES ENERGY, INC.,                                            )     Case No. 19-___________(___)
                                                                   )
                                 Debtor.                           )
                                                                   )

                                         LIST OF EQUITY SECURITY HOLDERS1

             Debtor              Equity Holders               Address of Equity                Type of            Percentage
                                                                   Holder                       Equity             of Equity
                                                                                               Security              Held
                                                           301 Commerce St.,                   Series A
                              Q Global Advisors
    Jones Energy, Inc.                                     Suite 3200                          preferred             8.51%
                              LLC
                                                           Austin, TX 78701                      Stock
                                                                                                Class A
                                                           10000 Memorial Drive
    Jones Energy, Inc.        JVL Advisors, L.L.C.                                             common               11.63%
                                                           Houston, TX 77024
                                                                                                 stock
                                                           1177 Avenue of the                   Class A
    Jones Energy, Inc.        Metalmark Capital            Americas, 40th Floor                common                9.82%
                                                           New York, NY 10036                    stock
                                                           807 Las Cimas                        Class A
                              Jonny Jones and
    Jones Energy, Inc.                                     Parkway, Suite 245                  common                8.70%
                              Jones Family
                                                           Austin, TX 78746                      stock
                                                           18 East Sunrise                      Class A
                              Citadel Securities -
    Jones Energy, Inc.                                     Highway #311                        common                5.12%
                              Kenneth Griffin
                                                           Freeport, NY 11520                    stock




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy
       Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 JONES ENERGY, INC.,                                  )    Case No. 19-______(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

 JVL Advisors, L.L.C.                                                         11.63%
                                Case 19-32112 Document 1 Filed in TXSB on 04/14/19 Page 9 of 17



     Fill in this information to identify the case:

     Debtor name          Jones Energy, Inc., et al.

     United States Bankruptcy Court for                                                                                               ☐ Check if this is an
     the:                                          Southern District of Texas                                                           amended filing
     Case number (If
                                                                                             (State)
     known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
    include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured
    claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

                                                                                                                                                    Amount of claim
                                                                                                       Nature of
                                                                                                        claim                            If the claim is fully unsecured, fill in only
                                                                                                                                      unsecured claim amount. If claim is partially
                                                                                                                       Indicate if         secured, fill in total claim amount and
                                                                                                  (for example,
                                                                                                                        claim is       deduction for value of collateral or setoff to
     Name of creditor and complete mailing             Name, telephone number and email            trade debts,
                                                                                                                      contingent,                calculate unsecured claim.
         address, including zip code                      address of creditor contact              bank loans,
                                                                                                                     unliquidated,
                                                                                                   professional                                    1Deduction
                                                                                                                      or disputed      Total
                                                                                                  services, and                                    for value of
                                                                                                                                     claim, if
                                                                                                   government                                       collateral        Unsecured Claim
                                                                                                                                     partially
                                                                                                    contracts)                                       or setoff
                                                                                                                                     secured
                                                                                                                                                         [1]
    U.S. Bank National Association, as                 Diana Jacobs                                 6.75%                                                             $582,100,000.00
    Indentured Trustee                                 EMAIL: diana.jacobs@usbank.com             Senior Notes
    ATTN: Diana Jacobs                                 PHONE: 206-344-3795                        Due 2022 &
    Vice President                                                                                  9.25%
1
    Global Corporate Trust                                                                        Senior Notes
    1420 Fifth Avenue, 7th Floor                                                                   Due 2023
    Seattle, WA 98101
    United States
    Brandi Combs, Individually and as Next             EMAIL: abcoffin@gpmlegal.net                    Litigation     Contingent,                                    Undetermined
    Friend of Colson Combs                             PHONE: 405-488-1212                                           Unliquidated,
    C/O Gum Puckett Mackecie                           FAX: 405-488-1216                                              & Disputed
    ATTN: April Coffin
2
    105 N. Hudson Street
    Suite 900
    Oklahoma City, OK 73102
    United States
    Weatherford Artificial Lift Systems                Christina M. Ibrahim                             Trade                                                          $148,377.19
    ATTN: Christina M. Ibrahim                         EMAIL:                                          Payable
    General Counsel                                    Christina.ibrahim@weatherford.com
3
    2000 St. James Place                               PHONE: 713-836-4000
    Houston, TX 77056                                  FAX: 713-836 -5050
    United States
    IHS Global Inc.                                    Sari Granat                                      Trade                                                          $135,665.52
    ATTN: Sari Granat                                  EMAIL: sari.granat@ihsmarkit.com                Payable
    General Counsel                                    PHONE: 303-790-0600
4
    15 Inverness Way E                                 FAX: 303-397-2599
    Engelwood, CO 80112-5710
    United States
    O & B Tank Company Inc.                            CJ Skipper                                       Trade                                                          $129,180.37
    ATTN: CJ Skipper                                   EMAIL: andrewobtank@gmail.com                   Payable
    President                                          PHONE: 806-624-3431;
5
    512 West Hwy 15                                    806-202-6610
    Darrouzett, TX 79024
    United States



         1
             The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                 Amount of claim
                                                                                   Nature of
                                                                                    claim                             If the claim is fully unsecured, fill in only
                                                                                                                   unsecured claim amount. If claim is partially
                                                                                                    Indicate if         secured, fill in total claim amount and
                                                                                  (for example,
                                                                                                     claim is       deduction for value of collateral or setoff to
      Name of creditor and complete mailing    Name, telephone number and email    trade debts,
                                                                                                   contingent,                calculate unsecured claim.
          address, including zip code             address of creditor contact      bank loans,
                                                                                                  unliquidated,
                                                                                   professional                                 1Deduction
                                                                                                   or disputed      Total
                                                                                  services, and                                 for value of
                                                                                                                  claim, if
                                                                                   government                                    collateral        Unsecured Claim
                                                                                                                  partially
                                                                                    contracts)                                    or setoff
                                                                                                                  secured
                                                                                                                                      [1]
     A & A Tank Truck Co                      Marshall Brackin                       Trade                                                              $90,505.33
     ATTN: Marshall Brackin                   EMAIL: delcy.burford@oesinc.com       Payable
     President                                PHONE: 405-364-2601;
6
     3230 Bart Conner Drive                   405-642-5665
     Norman, OK 73072
     United States
     PCS Oilfield Service                     Ed Purcell                             Trade                                                            $90,022.68
     ATTN: Ed Purcell                         EMAIL: epurcell@pcsoilfield.com       Payable
     Owner                                    PHONE: 806-323-8007
7
     10918 Shanna St                          FAX: 713-533-8158
     Canadian, TX 79014
     United States
     Firestone Trucking                       Chris Firestone                        Trade                                                            $73,335.60
     ATTN: Chris Firestone                    EMAIL:                                Payable
     President                                afirestone@firestonetrucking.com
8
     23 NW Main                               PHONE: 405-352-5959
     Minco, OK 73059                          FAX: 405-352-5243
     United States
     Echometer Company                        Jim McCoy                              Trade                                                            $68,294.83
     ATTN: Jim McCoy                          EMAIL: info@echometer.com             Payable
     President                                PHONE: 940-767-4334
9
     5001 Ditto Lane                          FAX: 940-723-7507
     Wichita Falls, TX 76302
     United States
     C&J Spec Rent Services, Inc.             Arnold Saucedo                         Trade                                                            $59,605.20
     ATTN: Arnold Saucedo                     EMAIL: arnold.saucedo@cjes.com        Payable
     Sales Account Manager                    PHONE: 361-877-6348
10
     3990 Rogerdale Rd                        FAX: 361-767-2649
     Houston, TX 77042
     United States
     Garrison Brothers Pipe & Used            Monte Walbaum                          Trade                                                            $53,790.14
     Equipment                                EMAIL:                                Payable
     ATTN: Monte Walbaum                      montewalbaum@yahoo.com
     Operations Manager                       PHONE: 405-834-8400
11
     2401 Spur Lane
     PO Box 967
     El Reno, OK 73036
     United States
     Western Hot Oil Service Inc.             Richie Gastineau                       Trade                                                            $50,602.68
     ATTN: Richie Gastineau                   EMAIL: Info@westernhotoil.com         Payable
     Chief Executive Officer                  PHONE: 806-435-4439
12
     501 N Main St                            FAX: 806-435-4398
     Perryton, TX 79070
     United States
     Complete Energy Services, Inc.           Justin Boyd                            Trade                                                            $48,160.00
     ATTN: Justin Boyd                        EMAIL:                                Payable
     President                                PHONE: 281-372-2300
13
     4727 Gaillardia Parkway                  FAX: 281-372-2301
     Oklahoma City, OK 73142
     United States
     RK&R Dozer Service                       Ronnie Robinson                        Trade                                                            $44,568.42
     ATTN: Ronnie Robinson                    EMAIL: lori@rkrdozerservice.com       Payable
     Owner                                    PHONE: 405-880-0680
14
     15200 W 6th St
     Orlando, OK 73073
     United States
                           Case 19-32112 Document 1 Filed in TXSB on 04/14/19 Page 11 of 17



                                                                                                                                Amount of claim
                                                                                  Nature of
                                                                                   claim                             If the claim is fully unsecured, fill in only
                                                                                                                  unsecured claim amount. If claim is partially
                                                                                                   Indicate if         secured, fill in total claim amount and
                                                                                 (for example,
                                                                                                    claim is       deduction for value of collateral or setoff to
      Name of creditor and complete mailing   Name, telephone number and email    trade debts,
                                                                                                  contingent,                calculate unsecured claim.
          address, including zip code            address of creditor contact      bank loans,
                                                                                                 unliquidated,
                                                                                  professional                                 1Deduction
                                                                                                  or disputed      Total
                                                                                 services, and                                 for value of
                                                                                                                 claim, if
                                                                                  government                                    collateral        Unsecured Claim
                                                                                                                 partially
                                                                                   contracts)                                    or setoff
                                                                                                                 secured
                                                                                                                                     [1]
     Tucker Construction Company              Mark Walck                            Trade                                                              $43,622.50
     ATTN: Mark Walck                         EMAIL: mark@tuckerconst.com;         Payable
     Vice President                           kkruse@tuckerconst.com
15   915 SE 4th Street                        PHONE: 405-756-3958
     PO Box 442                               FAX: 405-756-2558
     Lindsay, OK 73052
     United States
     J D Rush Corporation                     Rick Whitefield                       Trade                                                            $38,483.01
     ATTN: Rick Whitefield                    EMAIL: rickw@jdrushcorp.com          Payable
     Senior Vice President & General          PHONE: 281-558-8004
     Manager                                  FAX: 281-558-8044
16
     2 Northpoint Drive
     Suite 150
     Houston, TX 77060
     United States
     Baker Hughes Oilfield Ops LLC            Brandon Lawver                        Trade                                                            $37,752.50
     ATTN: Brandon Lawver                     EMAIL:                               Payable
     Sales Lead                               brandon.lawver@bhge.com
17
     17021 Aldine Westfield Rd                PHONE: 817-565-6548
     Houston, TX 77073-5101
     United States
     PCS Ferguson, Inc.                       Jim Strief                            Trade                                                            $37,358.17
     ATTN: Jim Strief                         EMAIL:                               Payable
     District Manager Plunger Lift            susan.johnson@apergy.com
18
     9733 N. W. 6th Street                    PHONE: 405-440-1015;
     Oklahoma City, OK 73127                  405-550-4615
     United States
     Flow Testing, Inc.                       Mike Sossaman                         Trade                                                            $33,600.00
     ATTN: Mike Sossaman                      EMAIL: flowtesting@yahoo.com;        Payable
     Owner                                    flowtestingmike@yahoo.com
19
     1125 West Washington Ave                 PHONE: 918-423-0017;
     Krebs, OK 74554                          918-429-8831
     United States                            FAX: 918-423-0087
     T&R Engine and Compressor Service        Terry L. Dorman                       Trade                                                            $30,779.24
     ATTN: Terry L. Dorman                    EMAIL:                               Payable
     President & Owner                        tandrcompressor@gmail.com
20
     514 SW 3rd Ave                           PHONE: 806-648-3186;
     Perryton, TX 79070                       806-202-2462
     United States
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    Fill in this information to identify the case and this filing:

   Debtor Name          Jones Energy, Inc.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration           List of Equity Security Holders, Corporate Ownership
            Statement and Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11


    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Carl F. Giesler, Jr.
                                       04/14/2019
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Carl F. Giesler, Jr.
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                    EXECUTED


                                  JONES ENERGY, INC.
                          Written Consent of the Board of Directors

                                        April 14, 2019

WHEREAS, the members of the Board of Directors (the “Board”) of Jones Energy, Inc., a
Delaware corporation (the “Company”), have unanimously consented in writing (including by
electronic transmission) to taking action with respect to the preambles and resolutions contained
on Exhibit A, attached hereto, pursuant to Section 141(f) of the Delaware General Corporation
Law and section 3.8 of the Amended and Restated Bylaws of the Company.

IN WITNESS WHEREOF, the undersigned, being a member of the Board, hereby consents to,
approves, and adopts the preambles and resolutions contained on Exhibit A, which is attached
hereto.

                                                             /s/ Jonny Jones
                                                             Jonny Jones


                                                             /s/ Carl F. Giesler, Jr.
                                                             Carl F. Giesler, Jr.


                                                             /s/ Alan D. Bell
                                                             Alan D. Bell


                                                             /s/ Tara Lewis
                                                             Tara Lewis


                                                             /s/ Hal S. Washburn
                                                             Hal S. Washburn


                                                             /s/ Stephen Jones
                                                             Stephen Jones


                                                             /s/ Spencer Wells
                                                             Spencer Wells
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                                            EXHIBIT A

       The Board of Directors (the “Board”) of Jones Energy, Inc. (the “Company”), a Delaware
corporation, hereby unanimously takes the following actions and adopts the following resolutions:

CHAPTER 11 FILING

         WHEREAS the Board has considered certain materials presented by the Company’s
management and financial and legal advisors, including, but not limited to, materials regarding the
liabilities and obligations of the Company, its liquidity, strategic alternatives available to it, and
the effect of the foregoing on the Company’s business, and has had adequate opportunity to consult
such persons regarding the materials presented, obtain additional information, and to fully consider
each of the strategic alternatives available to the Company; and

       WHEREAS the Board has had the opportunity to consult with the Company’s
management and the financial and legal advisors and consider each of the strategic alternatives
available to the Company.

       NOW, THEREFORE, BE IT RESOLVED that in the judgment of the Board, it is
desirable and in the best interests of the Company, that the Company shall be, and hereby is,
authorized to file, or cause to be filed, voluntary petitions for relief (the “Chapter 11 Cases”) under
the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in a
court of proper jurisdiction (the “Bankruptcy Court”) and any other petition for relief or
recognition or other order that may be desirable under applicable law in the United States; and

       FURTHER RESOLVED that the Company’s appointed officers (collectively,
the “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be,
and each of them hereby is authorized, empowered, and directed to execute and file on behalf of
the Company all petitions, schedules, lists, and other motions, papers, or documents as necessary
to commence the Chapter 11 Cases and obtain chapter 11 relief, and to take any and all action that
they deem necessary or proper to obtain such relief, including, without limitation, any action
necessary to maintain the ordinary course operation of the Company’s businesses.

CASH COLLATERAL AND ADEQUATE PROTECTION

        WHEREAS the Company will obtain benefits from the use of collateral, including cash
collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”),
which is security for certain holders of the Company’s 9.25% Senior Secured First Lien Notes
due 2023 (collectively, the “Prepetition Secured Parties”);

       NOW, THEREFORE, BE IT FURTHER RESOLVED that in order to use and obtain
the benefits of the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code,
the Company will provide certain adequate protection to the Prepetition Secured Parties
(the “Adequate Protection Obligations”), as documented in a proposed interim and final orders
(the “Cash Collateral Orders”) and submitted for approval to the Bankruptcy Court;

      FURTHER RESOLVED that the Company, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and
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to undertake any and all related transactions on substantially the same terms as contemplated under
the Cash Collateral Orders;

        FURTHER RESOLVED that each of the Authorized Signatories be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, the Company to seek
approval of the use of cash collateral pursuant to the Cash Collateral Orders, and, to the extent
applicable to the Company, any Authorized Signatory be, and hereby is, authorized, empowered,
and directed to negotiate, execute, and deliver any and all agreements, instruments, or documents,
by or on behalf of the Company, as necessary or advisable to implement the Cash Collateral
Orders, including providing for adequate protection to the Prepetition Secured Parties in
accordance with section 363 of the Bankruptcy Code, as well as any additional or further
agreements for the use of cash collateral in connection with the Company’s Chapter 11 Cases,
which agreement(s) may require the Company to grant adequate protection and security interests
to the Prepetition Secured Parties and each other agreement, instrument, or document to be
executed and delivered in connection therewith, by or on behalf of the Company pursuant thereto
or in connection therewith, all with such changes therein and additions thereto as any Authorized
Signatory, in his absolute discretion approves, such approval to be conclusively evidenced by the
taking of such action or by the execution and delivery thereof; and

        FURTHER RESOLVED that each of the Authorized Signatories be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, the Company to execute,
deliver, and file any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the Cash Collateral Orders or to take any other
action which shall in his/her or their absolute discretion be necessary, desirable, proper, or
advisable to give effect to the foregoing resolutions, which determination shall be conclusively
evidenced by his/her, or their execution thereof.

FILING OF THE CHAPTER 11 PLAN

        WHEREAS the Company, with the assistance of their advisors, has formulated a plan of
reorganization under chapter 11 of the Bankruptcy Code (as amended or restated from time to
time, the “Plan”) and a disclosure statement with all related exhibits thereto for soliciting support
for the Plan among the constituencies permitted to vote for the Plan under the Bankruptcy Code
(as amended or restated from time to time, the “Disclosure Statement”);

       WHEREAS the Board has reviewed the Plan and Disclosure Statement and have had the
opportunity to consult with the Company’s advisors concerning the Plan and Disclosure Statement;

       WHEREAS, in the judgment of the Board, it is desirable and in the best interest of the
Company’s creditors and other stakeholders that the Company files the Plan and Disclosure
Statement with the Bankruptcy Court, amends or restates the Plan and/or Disclosure Statement
from time to time as may be necessary in the reasonable judgment of the Authorized Signatories,
and seeks confirmation of the Plan;

        NOW, THEREFORE, BE IT RESOLVED FURTHER that in the judgment of the
Board, it is desirable and in the best interests of the Company, its creditors and other stakeholders
that the Authorized Signatories file or cause to be filed the Plan, the Disclosure Statement, and all
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other papers or documents (including any amendments) related thereto, and to take any and all
actions, that they deem necessary or appropriate to pursue confirmation and consummation of a
plan of reorganization materially consistent with the Plan;

       RESOLVED FURTHER that the Authorized Signatories acting alone or with one or more
other Authorized Signatories be, and they hereby are, authorized, empowered, and directed,
together with the Company’s advisors, to file all other documents deemed necessary to confirm, a
plan of reorganization materially consistent with the Plan, including, but not limited to, any
amendments to and modifications of the Plan and Disclosure Statement; and

       RESOLVED FURTHER that the Authorized Signatories of the Company acting alone or
with one or more other Authorized Signatories be, and they hereby are, authorized, empowered,
and directed to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such instruments as each, in his or her discretion, may
deem necessary or advisable in order to consummate the Plan if confirmed by the Bankruptcy
Court.

RETENTION OF PROFESSIONALS

        NOW, THEREFORE, BE IT FURTHER RESOLVED that each of the Authorized
Signatories be, and they hereby are, authorized and directed to employ the following professionals
on behalf of the Company: (i) the law firm of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP, as general bankruptcy counsel, (ii) the law firm of Jackson Walker L.L.P., as
co-bankruptcy counsel and conflicts counsel, (iii) Evercore Group L.L.C., as financial advisor,
(iv) Alvarez & Marsal North America, LLC, as restructuring advisor, (v) Deloitte Tax LLP, as tax
restructuring advisor, (vi) Epiq Corporate Restructuring, LLC, as notice and claims agent,
(vii) Baker Botts LLP, as special corporate counsel, and (viii) any other legal counsels,
accountants, financial advisors, restructuring advisors or other professionals the Authorized
Signatories deem necessary, appropriate or advisable; each to represent and assist the Company in
carrying out its duties and responsibilities and exercising its rights under the Bankruptcy Code and
applicable law (including, but not limited to, the law firms filing any pleadings and responses);
and in connection therewith, each of the Authorized Signatories be, and hereby is authorized,
empowered and directed, in accordance with the terms and conditions hereof, to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
applications for authority to reach such services.

GENERAL

        NOW, THEREFORE, BE IT RESOLVED, that in addition to the specific authorizations
heretofore conferred upon the Authorized Signatories, each of the Authorized Signatories (and
their designees and delegates) be, and they hereby are, authorized and empowered, in the name of
and on behalf of the Company, to take or cause to be taken any and all such other and further action
to: execute, acknowledge, deliver, and file any and all such agreements, certificates, instruments,
and other documents; and pay all expenses, including but not limited to filing fees, in each case as
in such officer’s or officers’ judgment, shall be necessary, advisable, or desirable in order to fully
carry out the intent and accomplish the purposes of the resolutions adopted herein;
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        FURTHER RESOLVED, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of the Company, or hereby waive any right to have received such
notice;

        FURTHER RESOLVED, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Board; and

        FURTHER RESOLVED, that each of the Authorized Signatories (and their designees
and delegates) be and hereby is authorized and empowered to take all actions or to not take any
action in the name of the Company with respect to the transactions contemplated by these
resolutions hereunder, as such Authorized Signatory shall deem necessary or desirable in such
Authorized Signatory’s reasonable business judgment as may be necessary or convenient to
effectuate the purposes of the transactions contemplated herein.

                                             *****
